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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

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                                   7     ZHUOER CHEN, et al.,                              Case No. 25-cv-03292-SI
                                   8                    Plaintiffs,
                                                                                           ORDER RE: HEARING FOR
                                   9             v.                                        TEMPORARY RESTRAINING ORDER
                                  10     KRISTI NOEM, et al.,                              Re: Dkt. No. 7
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          On Tuesday, April 15, 2025, the plaintiffs filed a motion for a temporary restraining order.

                                  14   Dkt. No. 7. The motion will be heard in person on Monday, April 21, at 11:00 a.m. in Courtroom

                                  15   1, 17th Floor, 450 Golden Gate Avenue, San Francisco. At the hearing, the Court requests the

                                  16   parties to be prepared to answer the following questions:

                                  17

                                  18   Factual Questions
                                  19      1. Why were the SEVIS records of plaintiffs terminated? Who made the decision to terminate

                                  20          the SEVIS records of plaintiffs?

                                  21      2. Have the plaintiffs failed to maintain status as an F-1 nonimmigrant? If so, how?

                                  22      3. Have the plaintiffs’ visas been revoked? If so, on what basis and when? If visas have been

                                  23          revoked, were they revoked immediately or prudentially?

                                  24

                                  25   Legal Questions

                                  26      4. Is having an F-1 visa a separate benefit from having F-1 status?
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                                   1      5. Does termination of an F-1 student’s SEVIS record effectively terminate the student’s F-1

                                   2           student status? Why or why not? If not, what effect does the termination of a student’s

                                   3           SEVIS record have on their status and the activities they can engage in?

                                   4      6. If an F-1 nonimmigrant fails to maintain their F-1 status, what is the subsequent lawful

                                   5           process that consequently should occur or regularly does occur?

                                   6      7. Does the termination of a SEVIS record make an F-1 nonimmigrant immediately eligible for

                                   7           lawful detention or deportation by ICE? If not, what other steps must happen before an F-1

                                   8           nonimmigrant is eligible for lawful detention or deportation?

                                   9      8. Does revocation of an F-1 visa make an individual immediately eligible for lawful detention

                                  10           or deportation?

                                  11      9. Is the termination of a SEVIS record a final agency action under the Administrative

                                  12           Procedure Act?
Northern District of California
 United States District Court




                                  13      10. Is nationwide relief appropriate for the defined class of individuals (“all other affected F-1

                                  14           students who have no record of criminal conviction and whose SEVIS records and F-1 visa

                                  15           status have been terminated or revoked since March 1, 2025”)? Are there any procedural

                                  16           barriers to the ordering of nationwide relief at the request of individual plaintiffs (not a

                                  17           class)?

                                  18
                                  19   Other

                                  20      11. As soon as practically possible, the government is ordered to collect and provide the Court

                                  21           a list of cases filed nationwide since March 1, 2025 in which F-1 nonimmigrants are

                                  22           challenging the termination of their SEVIS records.

                                  23

                                  24           IT IS SO ORDERED.

                                  25   Dated: April 16, 2025

                                  26                                                   ______________________________________
                                                                                       SUSAN ILLSTON
                                  27                                                   United States District Judge
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